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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

 JAMES G. HOWE,                                  )
 TIMOTHY CHARLES,                                )
 JACOB KALLAL, and                               )
 GEORGE NEEDS,                                   )
                                                 )   Case No. 14-cv-844-SMY
                        Plaintiffs,              )
                                                 )
 vs.                                             )
                                                 )
 SALVADORE GODINEZ, et al.,                      )
                                                 )
                        Defendants.              )

                            MEMORANDUM AND ORDER
YANDLE, District Judge:

       Plaintiffs, civil detainees classified as "sexually dangerous persons" under the Sexually

Dangerous Persons Act ("SDPA"), 725 ILCS 205/0.1, et seq, filed the instant action pursuant to

42 U.S.C. § 1983, alleging that Defendants are violating their constitutional rights. Following a

bench trial, the Court ordered the following permanent injunctive relief on September 6, 2021:

   1. Beginning no later than 30 days from the entry of this Order, Plaintiffs shall
      receive a minimum of 7.5 hours of core group therapy per week – each core group
      therapy session shall last no less than 90 minutes;

   2. All offense specific and didactic groups that are currently suspended shall be
      reinstated and permanently maintained beginning no later than 30 days from the
      entry of this Order;

   3. Within 6 months from the entry of this Order, recovery/release evaluations shall
      be conducted of the plaintiffs herein by independent psychologists or psychiatrists
      (not employed by IDOC or Wexford). No later than 30 days from the entry of this
      Order, Defendants shall provide Plaintiffs and the Court with a list of proposed
      independent psychologists/psychiatrists to conduct said evaluations. Plaintiffs
      shall file any objections to the proposed providers within 30 days thereafter.

(Doc. 286). Defendants were also ordered to file a status report regarding their compliance by

November 6, 2021. Id.

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       On October 4, 2021, two days before the deadlines established in the Injunctive Order,

Defendants filed a motion under Federal Rule of Civil Procedure 62(c) requesting to stay

enforcement of the Order (Doc. 291). Specifically, Defendants seek a stay until the Court rules

on their Motion to Amend Judgment (Doc. 291), which was filed contemporaneously with the

motion to stay. Plaintiffs oppose both motions (Docs. 292 and 293).

       Rule 62(c) authorizes a court to suspend modify, restore, or grant an injunction during the

pendency of an appeal over an injunction (or the denial of one). Fed. R. Civ. P. 62(c); 11 Fed.

Prac. & Proc. Civ. § 2904 (3d ed. 2015). Whether to grant relief under Rule 62(c) is discretionary.

Fed. R. Civ. P. 62(c). Such a stay is considered “extraordinary relief” for which the moving party

bears a “heavy burden.” Winston–Salem/Forsyth County Board of Education v. Scott, 404 U.S.

1221, 1231 (1971) (Burger, C.J., in chambers) (denying stay of school desegregation order).

       As an initial matter, Defendants’ motion is premature as no notice of appeal has been

filed; Rule 62(c) is not properly invoked until “an appeal is pending.” Fed.R.Civ.P. 62(c).

Defendants cite no authority to support a stay during the pendency of post-trial briefing. That

said, even if Rule 62(c) provided a mechanism for a stay before an appeal is filed, Defendants

have failed to meet their heavy burden for such extraordinary relief.

       Defendants point to “present compelling staffing and fiscal difficulties on the part of the

Defendants” and their motion is replete with complaints regarding how difficult it would be to

comply with the Injunctive Order. However, Defendants provide no affidavits or other evidence

supporting their assertions. Nor have they provided any evidence of efforts made (if any) to

comply with the Order. Accordingly, the motion is DENIED.

       Further, as it is clear from Defendants’ motion to stay and recent status report (Doc. 295)

that Defendants are not in compliance with the Injunctive Order. Accordingly, Defendants are



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ORDERED to show cause by November 30, 2021 why they should not be held in contempt of

court.

         IT IS SO ORDERED.

         DATED: November 16, 2021




                                               STACI M. YANDLE
                                               United States District Judge




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